                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )     Case No. 07-00007–CR-W-HFS
                                              )
RAYMOND W. ZWEGO, JR., et al.,                )
                                              )
       Defendants.                            )


                               MEMORANDUM TO COUNSEL


       It may be useful to identify my special concerns so that the Government’s brief in opposition

to the Shields motion to dismiss can be adequately responsive.1

       Absent some direction the Government may be tempted to target its response on aspects

where the motion is weakest (or novel); i.e., on procedural grounds, while rejecting the substantive

aspects, where the motion is most challenging (assuming the factual presentation is essentially

comprehensive).

       If the Government is inhibited in laying out expected trial material relating to Shields, as in

an opening statement, because other defendants are involved and could claim prejudice from pretrial

disclosures, I would be satisfied with omission of names of other defendants and anticipated




       1
           Because this motion goes to the heart of the trial issue of submissibility I am examining
it initially, leaving other pretrial motions for initial handling by Judge Maughmer.


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witnesses. Reference could be made to such persons by use of the alphabet. Counsel’s good faith

in such identification and characterization of anticipated proof may be assumed.2




                                             /s/ Howard F. Sachs
                                             HOWARD F. SACHS
                                             UNITED STATES DISTRICT JUDGE

March 26, 2007

Kansas City, Missouri




       2
         If the Government’s case against Ms. Shields stands or falls on the significance of the
signed Settlement Statement, summary judgment practice would be useful as a test of
submissibility, but of course we do not have that available in criminal cases. A motion to
dismiss is procedurally rather daring, but substantive rulings have been made occasionally (but
rarely) based on the sufficiency of opening statements, and also in mid-trial, when the
Government’s proof has been completed.


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